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CCS-77359 Gl\/lD/KCH

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLIN()IS

EASTERN DIVISION
BYRON WHITE, )
) l6 C‘\/ 7120
Plaintiff, )
) Judge Sara L. Ellis
vS. )
)
COOK COUNTY, SUPERINTENDENT THOMAS )
COl\/IMANDER TATE, SGT. MCCOY )
)
Defendants. )

DEFENDANTS’ MOTION F()R LEAVE T() PROCEED WITH DEPOSITI()N
OF AN INCARCERATED INDlVIDUAL AND FOR EXTENSION OF FACT
DlSCOVERY DEADLINE

Defendants, Cook County, Superintendent Thomas Coinmander Tate, Seargant McCoy,
by and through their attorneys, Gerald l\/l. Dombrowski and Kelly l\/I. Cronin, Sanchez Daniels
& Hoffman LLP, state the following for their l\/lotion for Leave to Proceed Witli deposition of

an lncarceratcd lndividual and for an Extension of Fact Discovery Deadline:

l. This matter is a claim for damages under 42 U.S.C. §l983 against the Del`endants
arising out of an alleged occurrence Wherein the toilet in Plaintil`l"e cell overllowed (living
conditions) between Noverriber ot`ZOl 5 and January of 201 6.

2. Gn Septeinbcr 6, ZOl"/'5 this Honorable Court Set a lact discovery deadline of
l\loverrlber 30, 2017 (Exliibit “A,").

3. On ()ctol)er l3, 2017, l)ei`ense counsel Kelly M, Cronin filed her appearance in
this matter (Exhibit `B”.)

4. ()n October 20, 2()l7, Del`ense counsel Sent a telephone conference request to

Plaintir"f at Cool< County Departirient ot`CorreetionS. (Exhibit “C").

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5. On Noveniber 9, 20l7, Joanna Kaniha, Departrnent of inmate Ser\'ices -~ Cool<:
County Department of Correetions, notified Del`ense counsel that Plaintil`l` Was transferred to
Vandalia Correctional Facility (Exhihit “D”).

6. On Noveniber l4, 2017, Det`ense counsel sent another telephone conference
request to Plaintiff at Vandalia Correctional Facility (E><hihit ‘”E”).

7. On Noveinl:)er l5, 20l7, Christopher Butl<aokas, \/andalia Correctional Center,
notified Delense counsel that Plaintil`l'was being transferred to East l\/loline Correctional Center
on the same day (lixhihit '“‘l:"“").

8. On Novemher lo, 2{}l7, Det`ense counsel sent a third telephone conference request
to Plaintit`l` at East Moline Correctional Center (Exhihit “G”).

9. Det`ense counsel requested a telephone conference date ol` No\/einher 20, 2,(ll7r
hot has not yet received conlirinetion ot`the third telephone conference request front East l\/loline
('Yorrectional C`enterr

l€l, As si.zeh, l')et`ense counsel has heen unable to reach l)§eintil"l"s counsel to discuss
outstanding discovery since appearing in the case

ll. 'l`l”ierel`ore, the l}el'icndonts respectliilly reooest an extension oi` the discovery
schedule l`or 60 days so that a fact discovery may he completed

l2. l`)el`endant further respectr`ully requests leave to proceed with plaintiffs deposition

Wltile incarcerated

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WHEREFORE, l)efendants Cool< Cotinty5 Superintendent 'l`homas Coinniander 'l`ate,

Seargant McCoy respectfully request of this Honorable Court? an Order:

ld (`iranting_r Detendants’ l\/lotion pursuant to Fed.R.Ciy.Pro 30(a)(2)(l3)
allowing leave to proceed With Plaintit`t”s deposition While incarcerated;
and,

2. Extending the discovery deadline to .lanuary 30, ZOl 7; and,

3. For any other relief that this Honorahle Coort deeinsjnst.

Respectl`ully Suhmitted,

SANCHEZ DANIELS & HOFFMAN, LLP

 

 

 

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